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Attorney for Defendant

               IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF ALASKA

WILLIAM S. SHELDON, as PR of         ) Case No. 3:13-cv-222 TMB
the ESTATE OF RAMONA M.              )
SHELDON, and GEORGE A.               )
SHELDON, JR., individually and       ) NOTICE OF SETTLEMENT
as guardian of F.A.S.,               )
                                     )
                   Plaintiffs,       )
                                     )
       vs.                           )
                                     )
UNITED STATES OF AMERICA,            )
                                     )
                   Defendant.        )
                                     )

      The United States, through counsel, notifies the Court that the parties

have reached a settlement of the claims in this action. Plaintiffs will need to

obtain court approval, pursuant to AkLR 68.3, of F.A.S.’s portion of the




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settlement. Only after court approval is obtained can the Defendant finalize

the settlement documents and request for payment. A stipulation for

dismissal will be filed after the parties complete the settlement documents

and proceedings, which is expected to take up to 90 days.

       The parties propose they file either the stipulation for dismissal or a

status report on April 8, 2016.

       RESPECTFULLY SUBMITTED on January 8, 2016, at Anchorage,

Alaska.

                                                KAREN L. LOEFFLER
                                                United States Attorney


                                                s/Richard L. Pomeroy
                                                Assistant U.S. Attorney
                                                Attorney for Defendant



CERTIFICATE OF SERVICE

I hereby certify that on January 8, 2016,
a copy of the foregoing was served
electronically on:

Benjamin I. Whipple, Esq.

s/ Richard L. Pomeroy
Assistant United States Attorney




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